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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )                    8:05CR186
       vs.                                     )
                                               )                REPORT AND
WILLIAM HANSEN,                                )             RECOMMENDATION
                                               )
                      Defendant.               )


       An evidentiary hearing was held June 2, 2005 on defendant's MOTION TO SUPPRESS

EVIDENCE (#20). The transcript (#26) was filed on June 3, 2005, at which time the matter

was deemed submitted.

       Defendant, William Hansen, was arrested on outstanding warrants after his vehicle

was stopped for a traffic violation on the night of November 20, 2004. Defendant's vehicle

was searched at the scene of the traffic stop. Defendant also made statements to the arresting

officer before and after being given his Miranda1 rights. During oral argument, counsel

clarified that the validity of the traffic stop is not contested (3:1); however, defendant does

object to the admission of his post-arrest statements (3:4-7), see Missouri v. Seibert, 542 U.S.

600, 124 S. Ct. 2601 (2004), and continues to object to the search of his vehicle.

       The government argues that defendant's vehicle was searched incident to arrest; that

defendant voluntarily consented to the search and the search did not exceed the scope of the



   1
    Miranda v. Arizona, 384 U.S. 436 (1966).
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consent (60:10-61:9); and that the search was a proper inventory search (61:18-62:3). The

government further argues that defendant voluntarily waived his Miranda rights and his

Mirandized statements are admissible under United States v. Fellers, 397 F.3d 1090 (8th Cir.

2005), and United States v. Terry, 400 F.3d 575 (8th Cir. 2005).

                              I. FACTUAL BACKGROUND

       Buck G. Boje testified that he is a sergeant with the Nebraska State Patrol assigned

to the traffic division. Boje has 15 years experience in law enforcement and has been a State

Patrol sergeant for one and one-half years. His duties include traffic and criminal law

enforcement. (6:16-24).

       At 10:40 p.m. on November 20, 2004, Boje was on duty, in uniform, driving a marked

patrol car. He conducted a traffic stop of a maroon-colored '80s model Chevy pickup at the

intersection of Willow and Rodeo Road Street in North Platte, Nebraska. The vehicle was

stopped for a taillight violation. (7:2-22; 28:22-23). The stop and subsequent events were

recorded, and the videotape was admitted as Exhibit 1.

       The sole occupant of the truck was the driver, who identified himself as William

Hansen, Jr. (8: 1-4). He remained seated in the front seat of the truck while Boje asked him

for his name, date of birth, a driver's license, registration and proof of insurance. (32:9-22).

Defendant was about 46 years old. (13:17). He told Boje that he did not have a driver's

license. Boje asked defendant as to the status of his license, that is, if he had one, or if he had

left it at home. Defendant told Boje that his driver's license was under suspension. He did


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produce the registration showing that he owned the vehicle, but had no proof of insurance.

(9:11-10:1). Boje testified he did not see anything"of evidentiary value" in plain view during

this discussion. (32:20-22). He did subsequently discover that the plates displayed did not

belong on the pickup. (30:12-16).

       Boje requested a check on defendant's status through dispatch. The dispatcher advised

that there were two active warrants for defendant's arrest, and that defendant's driver's license

was suspended and revoked. Boje was able to confirm the existence of the two warrants.

(10:2-20). After receiving this information, Boje arrested defendant pursuant to the two

active arrest warrants, placed defendant in handcuffs, and conducted a search of defendant's

person for weapons. (10:21-24). He found no controlled substances or illegal contraband

on defendant's person and placed defendant in the front passenger seat of the patrol car.

Defendant remained handcuffed in the patrol car until he was transported from the scene at

12:25 a.m. (15:3; 31:14-25).

       Sergeant Boje testified that, inside the patrol car, he asked defendant if he had any

illegal drugs, weapons, or explosives inside the pickup. Defendant said he did not. Boje then

asked if it would be all right if either he or Trooper Gina Jones, who was also present, "took

a look" through the pickup. According to Boje, defendant said he did not have a problem

with it, but he had called someone to come and take his pickup away and she was on her way

there. Boje reassured defendant it would not take long and again asked if it would be all




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right, and defendant said, "Yeah, that's fine." This conversation occurred at about 10:50 p.m.

(10:25-12:12).

       Boje testified he did not make any threats to get defendant to agree to the search, did

not make any promises of benefits he might receive, and did not use any force or try to put

defendant in fear. Defendant did not appear to be under the influence of alcohol or drugs.

He appeared to know where he was, who Boje was, and what was going on. Defendant's

answers were responsive and he appeared to be coherent. (12:13-13:15).

       Once defendant said it was alright to search the vehicle, Boje had Trooper Jones go

ahead and begin to enter the pickup to search it. (14:1-7). Boje's patrol car was situated at

an angle at the rear of defendant's pickup, about 10 feet away, and the pickup could be seen

from the front seat of the patrol car, where Boje and defendant were sitting. (14:11-15:6).

       When Jones attempted to enter the pickup, she discovered it had no door handles or

mechanism to gain entry through the doors. Defendant told Boje that, since he had already

shut and locked the doors, the only way to get into the pickup was through the rear sliding

window. Thus, Jones entered the pickup through the rear window. Defendant told Boje that

he had several Japanese paintings in the front seat of the pickup that he did not want stepped

on. Boje relayed that information to Jones. (15:8-24).




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       According to Sgt. Boje, Jones entered the pickup truck at about 10:53 or 10:55 p.m.2

(16:2). Jones reported to Boje that she saw a needle syringe lying in plain view on the

floorboard, partially under the driver's seat. Boje, in turn, asked defendant if he had any type

of medical condition, such as diabetes, as to why the syringe was in his vehicle, and if he

knew why the syringe was in his vehicle. Defendant replied that he did not have any medical

condition requiring a needle and syringe, and he did not know why the needle and syringe

would be there. (16:10-25).

       Boje testified on cross-examination that he initially considered allowing the vehicle

to be released to a third party (33:20-34:7). He learned during the course of the traffic stop

that defendant had been previously charged, arrested, and convicted of several felonies,

including the possession and delivery of controlled substances. (13:18-23). After the needle

and syringe were found in the truck, he determined that the truck would not be released to

a third party. (38:4-15).

       Jones continued to search through the truck and report back to Boje. She found a

plastic baggie containing a white crystalline-type substance Boje thought was "ice," or crystal

methamphetamine. Boje took the plastic baggie from Jones, showed it to defendant and

asked if it was, in fact, ice or methamphetamine. Defendant responded that it was. (17:8-20).




   2
     Minor discrepancies in Boje's testimony as to specific times may be attributed to a one- to two-
minute difference between the time set on the videotape and that displayed on the clock in the patrol
car. (27:21-28:20).

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Defendant admitted he used methamphetamine. These statements were made before

defendant was given his Miranda rights. (41:9-42:7).

       Boje acknowledged that he spoke from time to time with the defendant before giving

him his Miranda rights, and testified that the defendant initiated some of the conversation.

(20:2-4). According to Boje, it was mostly general conversation regarding defendant's

identification. For purposes of officer safety, Boje had asked defendant whether there were

other needles or syringes or anything that would poke or stab the officer who was searching

the pickup. Boje testified he asked for other general information for safety purposes. Noting

that the pickup bed held numerous tools and other items, Boje asked defendant if any of the

property was stolen. (20:5-22).

       Sergeant Boje testified that, during the hour that elapsed between the time the search

of the truck began and the time defendant was given his Miranda rights, he was engaged in

numerous activities. He was busy completing paperwork inside his patrol card, i.e., filling

out the citation and other forms. Several people, and at least two vehicles, arrived at the

scene, apparently because defendant had anticipated being arrested and made some calls on

his cell phone. One person who arrived was the female who came to drive the pickup away.

Boje and Jones talked to her, trying to ascertain the location of the other vehicle, which he

recalled contained at least four people. Boje called for other officers because of the number

of people who had come to the scene. Boje talked to them and to the dispatcher. He also

conducted a field test of the white substance found in the pickup. Boje continued to interact


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with Jones as she searched the truck. He eventually asked her to go ahead and begin an

inventory of the vehicle. (18:3-19:16).

       At 11:55 or 11:57 p.m., about the time Jones started the formal inventory search, Boje

read defendant his Miranda rights using a Nebraska State Patrol ADVICE OF RIGHTS and

WAIVER OF RIGHTS form (Ex. 2). Boje denied that he was using an interview technique or

plan to gain admissions and then Mirandize the defendant and ask him the same things later.

(20:23-21:5).

       Boje testified he completed the information on the rights advisory form and read the

form verbatim to the defendant. Boje asked defendant if he understood, and defendant said

that he did understand the advice of rights. Boje then read to defendant the waiver of rights

portion of the form and asked if defendant was willing to speak with him at that time.

Defendant indicated verbally that he understood the waiver of rights and said he did wish to

speak to Boje. Boje testified he made no threats or promises to the defendant, did not use

force, the defendant was oriented, his answers were responsive, he appeared coherent and

his agreement to speak appeared to be voluntary. (21:6-23:9).

        After Miranda warnings were given and defendant agreed to speak, Boje asked

defendant numerous questions about where he got the methamphetamine, what he was doing

with it, when he made his last purchase, and if he was cooking methamphetamine.

Defendant said he was not manufacturing methamphetamine, but he knew of people in the

area who were, and he was willing to provide information on who was doing that. Boje


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asked where he got the methamphetamine and what he was doing with it. He asked for the

name of defendant's source and when the last purchase was made. Regarding his supplier,

defendant said he obtained the methamphetamine from a black male named Scott

approximately the day before. He had purchased seven grams of methamphetamine, but the

methamphetamine was low quality and defendant said he intended to return it to Scott and

get his money back. In response to Boje's question about how long he had been using

methamphetamine, defendant said he had been using it since he was 15 years old and used

about one to one and one-half grams per day. Defendant told Boje he did not manufacture

it and did not want to know how to manufacture methamphetamine. Defendant denied

selling methamphetamine; he told Boje he had scales3 so he would not get ripped off when

purchasing it and was using the baggies to separate "the rocks of methamphetamine into one

baggie and the cut into another baggie." (23:12-24:3; 44:12-45:17; 46:9-12).

       According to Boje, defendant did not ask to speak to a lawyer before continuing to

speak to Boje, and did not ask for a lawyer during the Mirandized interview. Boje asked

defendant if there was anything else he wanted to say, and defendant said there was not. The

questioning ceased at about 12:11 a.m., and defendant was transported from the scene at

about 12:25 a.m. The pickup truck was towed and an inventory completed. (24:10-25).




   3
     Exhibit 5 indicates that a "silver, gram, digital scale" and nine other items were seized from
defendant's vehicle and actually booked into evidence. These items do not appear on Exhibit 3, the
State Patrol's inventory list. (54:4-15).

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                                 II. LEGAL ANALYSIS

       A. SUPPRESSION OF STATEMENTS

       Defendant argues his initial post-arrest statements were obtained in violation of

Miranda v. Arizona and that the statements he made after being given his Miranda rights

should be suppressed pursuant to Missouri v. Seibert, 124 S. Ct. 2601 (2004).

       1. Miranda. The protections of Miranda v. Arizona are triggered when a defendant

is (1) in custody and (2) being interrogated. United States v. Lawrence, 952 F.2d 1034, 1036

(8th Cir.), cert. denied, 503 U.S. 1011 (1992). ‘Interrogation’ is ‘express questioning,’ or

words or actions ‘that the police should know are reasonably likely to elicit an incriminating

response....’ Rhode Island v. Innis, 446 U.S. 291, 301 (1980); Lawrence, 952 F.2d at

1036....” United States v. Hatten, 68 F.3d 257, 261-62 (8th Cir. 1995), cert. denied,

516 U.S. 1150 (1996) (parallel citations omitted).

       The statements complained of were made after the defendant was arrested. The record

shows that the defendant was "interrogated" before being given his Miranda rights in the

sense that Sergeant Boje asked defendant questions that he knew or should have known were

likely to elicit an incriminating response. For example, Boje asked defendant about the

presence of the needle and syringe in the vehicle and the plastic baggie containing the white

crystalline-type substance without reading defendant his Miranda rights. I recommend that

the motion to suppress statements be granted as to any statements which (a) are not exempted




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from Miranda’s coverage4 and (b) which were the result of “custodial interrogation” and (c)

which were given before defendant was read his Miranda rights.

       To the extent the defendant’s motion seeks the suppression of physical evidence based

on the Miranda violation, the failure to give a suspect Miranda warnings does not require

the suppression of the physical fruits of the suspect’s unwarned but voluntary statements.

United States v. Patane, 542 U.S. 630 (2004). The record shows no indication of coercion

or police misconduct in talking to the defendant at the time of his arrest. I find that all of

defendant’s statements were voluntary for purposes of applying United States v. Patane.

       2. Missouri v. Seibert. In Missouri v. Seibert, 542 U.S. 600, 124 S. Ct. 2601 (2004),

the Court disapproved of a "question- first" interrogation technique where police deliberately

fail to provide Miranda warnings before an initial round of questioning until they elicit a

confession from the suspect and then seek to have the suspect repeat the confession in a

second interview conducted after Miranda warnings are given. "The object of question-first




   4
     Certain matters are not protected under Miranda. Routine biographical data is exempted from
Miranda’s coverage. See Pennsylvania v. Muniz, 496 U.S. 582, 601 (1990); United States v. Brown,
101 F.3d 1272, 1274 (8th Cir. 1996). A consent to search is not an "incriminating statement" for
purposes of Miranda. See Cody v. Solem, 755 F.2d 1323, 1330 (8th Cir.), cert. denied, 474 U.S.
833 (1985); United States v. McClellan, 165 F.3d 535, 544 (7th Cir.), cert. denied, 526 U.S. 1125
(1999); United States v. Shlater, 85 F.3d 1251 (7th Cir. 1996); United States v. Henley, 984 F.2d
1040, 1042 (9th Cir. 1993) (the mere act of consenting to a search does not incriminate a defendant,
although the derivative evidence uncovered may be highly incriminating). Thus, Miranda warnings
need not be given prior to requesting consent to search. United States v. Newton, 259 F.3d 964, 966-
67 (8th Cir. 2001) (citing United States v. Payne, 119 F.3d 637, 643 (8th Cir.), cert. denied, 522 U.S.
987 (1997)).


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is to render Miranda warnings ineffective by waiting for a particularly opportune time to give

them, after the suspect has already confessed." Seibert, 124 S. Ct. at 2610.

       The threshold issue when interrogators question first and warn later is thus
       whether it would be reasonable to find that in these circumstances the
       warnings could function "effectively" as Miranda requires. Could the warnings
       effectively advise the suspect that he had a real choice about giving an
       admissible statement at that juncture? Could they reasonably convey that he
       could choose to stop talking even if he had talked earlier? For unless the
       warnings could place a suspect who has just been interrogated in a position to
       make such an informed choice, there is no practical justification for accepting
       the formal warnings as compliance with Miranda, or for treating the second
       stage of interrogation as distinct from the first, unwarned and inadmissible
       segment.

Seibert, 124 S. Ct. at 2610. The Court further reasoned that

       when Miranda warnings are inserted in the midst of coordinated and
       continuing interrogation, they are likely to mislead and "depriv[e] a defendant
       of knowledge essential to his ability to understand the nature of his rights and
       the consequences of abandoning them." Moran v. Burbine, 475 U.S. 412, 424
       (1986). By the same token, it would ordinarily be unrealistic to treat two
       spates of integrated and proximately conducted questioning as independent
       interrogations subject to independent evaluation simply because Miranda
       warnings formally punctuate them in the middle.

Id. at 2611. In other words, a suspect who has already "revealed all" may well waive

Miranda rights in the mistaken belief that his or her non-Mirandized statements were already

admissible.

       The plurality opinion in Seibert "described the controlling question as whether 'a

reasonable person in the suspect's shoes' would have understood the Miranda warnings as

conveying a message that the suspect retained a genuine choice about continuing to talk."

United States v. Terry, 400 F.3d 575, 581 (8th Cir. 2005) (quoting Seibert, 124 S. Ct. at

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2612-13). Factors relevant to that inquiry include "the completeness and detail of the

questions and answers in the first round of interrogation, the overlapping content of the two

statements, the timing and setting of the first and the second, the continuity of police

personnel, and the degree to which the interrogator's questions treated the second round as

continuous with the first," Seibert, 124 S. Ct. at 2612, and whether, as happened in Seibert,

"questioning was systematic, exhaustive, and managed with psychological skill." Id at 2612-

13. See also United States v. Hernandez-Hernandez, 384 F.3d 562, 566-67 (8th Cir. 2004);

United States v. Fellers, 397 F.3d 1090, 1098 (8th Cir. 2005), petition for cert. filed, May 16,

2005, No. 04-1552.

       The videotape of this incident (Ex. 1) does demonstrate, after the defendant was

arrested, an ongoing exchange between Sergeant Boje and the defendant. To a large extent,

the commonly-cited "Seibert factors" technically weigh in favor of the defendant; however,

the circumstances differ dramatically from those in Seibert in that the record in this case does

not even begin to reveal "a police strategy adapted to undermine the Miranda warnings" or

show that the non-Mirandized questioning "was systematic, exhaustive, and managed with

psychological skill."

       In Seibert, the investigating officer freely admitted he "made a 'conscious decision'

to withhold Miranda warnings, thus resorting to an interrogation technique he had been

taught: question first, then give the warnings, and then repeat the question 'until I get the

answer that she's already provided once.'" 124 S. Ct. at 2606. In the case at bar, the record


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suggests that Boje was engaged in other activities as he talked to the defendant and, at some

point, realized it would be prudent to advise defendant of his Miranda rights. Based on the

results of the vehicle search, Boje would have had a basis for the questions asked during the

Mirandized portion of the interview even without the benefit of defendant's un-Mirandized

statements. Cf. United States v. Fellers, 397 F.3d at 1096.

       The Seibert decision was meant to curb "[s]trategists dedicated to draining the

substance out of Miranda." See 124 S. Ct. at 2613. The gist of the Court's ruling is to ensure

that suspects are effectively advised that they have a genuine right to remain silent. See 124

S. Ct. at 2611. Under the circumstances of this incident, I find, as did the courts in United

States v. Fellers and United States v. Terry, that a reasonable person in the defendant's shoes

would have understood the Miranda warnings he was given as conveying a message that he

retained a genuine choice about continuing to talk to Sergeant Boje.

       3. Waiver of Miranda Rights. The government bears the burden of proving the

validity of a Miranda waiver by a preponderance of the evidence. United States v. Haggard,

368 F.3d 1020, 1024 (8th Cir. 2004) (citing Colorado v. Connelly, 479 U.S. 157, 168-69

(1986)).

               A waiver of the Fifth Amendment privilege against self incrimination
       is valid only if it is made voluntarily, knowingly, and intelligently. Miranda
       v. Arizona, 384 U.S. 436, 444, 86 S. Ct. 1602, 16 L. Ed. 2d 694 (1966). A
       waiver is knowing if it is “made with a full awareness of both the nature of the
       right being abandoned and the consequences of the decision to abandon it.”
       Moran v. Burbine, 475 U.S. 412, 421, 106 S. Ct. 1135, 89 L. Ed. 2d 410
       (1986). It is voluntary if it is “the product of a free and deliberate choice
       rather than intimidation, coercion, or deception.” Id.

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United States v. Syslo, 303 F.3d 860, 865 (8th Cir. 2002). To determine whether a waiver was

voluntary, the court considers the totality of the circumstances and must determine whether

the individual’s will was overborne. United States v. Syslo, 303 F.3d at 866; United States

v. Holloway, 128 F.3d 1254, 1256 (8th Cir. 1997).

       The defendant in this case had prior experience with law enforcement. He had the

presence of mind to close the windows, lock his pickup truck, and to call friends for

assistance after his vehicle was stopped. There is no evidence that defendant was forced or

coerced into talking to Boje and there is no evidence suggesting that defendant's will was

overborne.

       I find that defendant did, in fact, voluntarily waive his Miranda rights and recommend

that the motion to suppress be denied as to defendant's Mirandized statements.

       B. LEGALITY OF VEHICLE SEARCH

       The government argues that the search of defendant's vehicle without a warrant was

permissible for several reasons.

       1. Consent. "Police may conduct a search of someone's home or person even without

a warrant or probable cause if that person voluntarily consents to the search. See United

States v. Chaidez, 906 F.2d 377, 380 (8th Cir. 1990)." United States v. Bradley, 234 F.3d

363, 366 (8th Cir. 2000); see also United States v. Deanda, 73 F.3d 825 (8th Cir. 1996). To

determine whether such a consent was voluntary, the court must examine the totality of the

circumstances, including the characteristics of the accused and the nature of the encounter.


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See Bradley, 234 F.3d at 366. The government has the burden of proving consent was

voluntary. United States v. Parris, 17 F.3d 227, 229 (8th Cir.), cert. denied, 511 U.S. 1077

(1994); United States v. Heath, 58 F.3d 1271, 1275 (8th Cir.), cert. denied, 516 U.S. 892

(1995). "The prosecution need not prove that the individual was fully aware of his or her

rights under the Fourth Amendment in order to establish a voluntary consent." Heath, 58

F.3d at 1275 (citing Schneckloth v. Bustamonte, 412 U.S. 218, 235 (1973)). "Consent is

voluntary 'if it was the product of an essentially free and unconstrained choice by its maker,

rather than the product of duress or coercion, express or implied.'" United States v. Fleck, ___

F.3d ___, 2005 WL 1522738 (8th Cir., June 29, 2005) (quoting Chaidez, 906 F.2d at 380).

       The conversation between Sergeant Boje and the defendant was recorded on

videotape. The court has reviewed the videotape (Ex. 1), which generally corroborates Boje's

testimony and shows a verbal consent to search by the defendant. The consent was not

limited in any fashion and was not retracted. Considering the Chaidez factors5 in conjunction

   5
    Courts in the Eighth Circuit generally consider the "Chaidez factors" to determine if consent was
voluntary:
   "Characteristics of persons giving consent" which may be relevant to the question include:
       (1) their age; (2) their general intelligence and education; (3) whether they were
       intoxicated or under the influence of drugs when consenting; (4) whether they
       consented after being informed of their right to withhold consent or of their Miranda
       rights; and (5) whether, because they had been previously arrested, they were aware
       of the protections afforded to suspected criminals by the legal system.
   Id. at 381 (internal citations omitted). Characteristics of "the environment in which consent
   was given" include:
       whether the person who consented (1) was detained and questioned for a long or
       short time; (2) was threatened, physically intimidated, or punished by the police; (3)
       relied upon promises or misrepresentations made by the police; (4) was in custody
       or under arrest when the consent was given; (5) was in a public or a secluded place;
       or (6) either objected to the search or stood by silently while the search occurred.

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with the videotape, and the hearing testimony, I find that defendant voluntarily consented to

the search of his vehicle.

       2. Search Incident to Arrest. Under New York v. Belton, 453 U.S. 454, 460 (1981),

"when a policeman has made a lawful custodial arrest of the occupant of an automobile, he

may, as a contemporaneous incident of that arrest, search the passenger compartment of that

automobile." "[T]he police may also examine the contents of any containers found within

the passenger compartment, for if the passenger compartment is within reach of the arrestee,

so also will containers in it be within his reach." Id. See also United States v. Wells,

347 F.3d 280 (8th Cir. 2003), cert. denied, 541 U.S. 1081 (2004); United States v. Orozco-

Castillo, 404 F.3d 1101 (8th Cir. 2005).

       In this case, the vehicle search began within 10 minutes of defendant's arrest and was

conducted at the scene of the arrest. I find that the search of the cab was "contemporaneous

to the arrest," see United States v. Wells, 347 F.3d at 287, and was permissible under New

York v. Belton.

       3. Automobile Exception. The “automobile exception” to the warrant requirement

authorizes officers to search a vehicle without a warrant if they have probable cause to

believe the vehicle contains evidence of criminal activity. United States v. Hill, 386 F.3d



   Id. (internal citations omitted). The factors should not be applied mechanically, id., and no
   single factor is dispositive or controlling. United States v. Ponce, 8 F.3d 989, 997 (5th
   Cir.1993).
United States v. Bradley, 234 F.3d at 366.


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855, 858 (8th Cir. 2004). “‘If a car is readily mobile and probable cause exists to believe it

contains contraband, the Fourth amendment ... permits police to search the vehicle without

more.’” Maryland v. Dyson, 527 U.S. 465, 467 (1999) (quoting Pennsylvania v. Labron, 518

U.S. 938, 940 (1996)).

       In this case, the state troopers began searching the vehicle with the defendant's consent

and incident to his arrest. They found a needle and syringe, and a quantity of suspected

methamphetamine, providing probable cause to search the entire vehicle.

       4. Inventory Search. The defendant could not lawfully drive his vehicle away from

the scene and the vehicle could not be released to a third party in light of the contraband

found inside the vehicle. Thus, the officers took steps to impound the pickup in accordance

with the Nebraska State Patrol's policy and procedures governing traffic auxiliary services

(Ex. 4, § VIII ("Inventory and Storing of Vehicles")). In this context, the inventory search

of the defendants’ vehicle appears to be permissible under United States v. Wallace, 102 F.3d

346, 348 (8th Cir. 1996):

              It is well established that “[t]he police are not precluded from
       conducting inventory searches when they lawfully impound the vehicle of an
       individual that they also happen to suspect is involved in illegal activity.”
       United States v. Marshall, 986 F.2d 1171, 1175-76 (8th Cir. 1993). In other
       words, “[a]s long as impoundment pursuant to the community caretaking [or
       public safety] function is not a mere subterfuge for investigation, the
       coexistence of investigatory and caretaking [or public safety] motives will not
       invalidate the search.” Id. at 1176 (quoting United States v. Rodriguez-
       Morales, 929 F.2d 780, 787 (1st Cir. 1991), cert. denied, 502 U.S. 1030
       (1992)). In Colorado v. Bertine, 479 U.S. 367, 374 (1987), the Supreme Court
       held that “reasonable police regulations relating to inventory procedures
       administered in good faith satisfy the Fourth Amendment.”

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(Parallel citations omitted). Later, in United States v. Mayfield, 161 F.3d 1143, 1145 (8th

Cir. 1998), cert. denied, 526 U.S. 1045 (1999), the Eighth Circuit stated:

       After lawfully taking custody of an automobile, police may search the
       automobile without a warrant to produce an inventory of the automobile’s
       contents. See South Dakota v. Opperman, 428 U.S. 364, 376 (1976). The
       intrusion is justified by governmental interests in protecting the owner’s
       property while it remains in police custody, in protecting the police against
       claims or disputes over lost or stolen property, and in protecting the police
       from potential danger. See id. at 369. The Fourth Amendment is not offended
       if, considering the totality of the circumstances, the inventory search is
       reasonable. See id. at 373. Inventory searches are reasonable when they are
       conducted according to standardized police procedures. See id. at 372; see
       also Colorado v. Bertine, 479 U.S. 367, 374 (1987). Compliance with
       procedures merely tends to ensure the intrusion is limited to carrying out the
       government’s caretaking function. See Opperman, 428 U.S. at 374-75. This
       does not mean that inventory searches are always unreasonable when standard
       procedures are not followed, however. See United States v. Woolbright, 831
       F.2d 1390, 1394 (8th Cir. 1987) (failure of police to complete inventory of
       arrestee’s belongings as policy provided after finding drugs in arrestee’s
       suitcase did not render inventory search unreasonable where police changed
       plans and decided to transfer arrestee to federal authorities); United States v.
       Trullo, 790 F.2d 205, 206 (1st Cir. 1986); see also Whren v. United States, 517
       U.S. 806, 816 (1996) (although adherence to procedures shows lack of pretext,
       deviation from procedures does not prove pretext).

(Parallel citations omitted).

       Finally, the Court in South Dakota v. Opperman long ago acknowledged that

       [t]he authority of police to seize and remove from the streets vehicles
       impeding traffic or threatening public safety and convenience is beyond
       challenge.

              When vehicles are impounded, local police departments generally
       follow a routine practice of securing and inventorying the automobiles’
       contents. These procedures developed in response to three distinct needs: the
       protection of the owner’s property while it remains in police custody, ... the


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       protection of the police against claims or disputes over lost or stolen property,
       ... and the protection of the police from potential danger....

428 U.S. at 369 (citations omitted). The Court also observed that it “has consistently

sustained police intrusions into automobiles impounded or otherwise in lawful police custody

where the process is aimed at securing or protecting the car and its contents.” Id. at 373.

       I find Sergeant Boje's testimony to be credible. The State Patrol's policy requires that

an inventory be completed at the time of impoundment. Examining the “totality of the

circumstances” surrounding the decision to impound and conduct an inventory search of

defendant’s vehicle, see United States v. Mayfield, I conclude this search was reasonable

under the Fourth Amendment.

                               III. RECOMMENDATION

       In summary, defendant was in custody when subjected to questioning, words, or

actions that the police should have known were reasonably likely to elicit an incriminating

response. His pre-Mirandized statements, therefore, should be suppressed. His Mirandized

statements should not be suppressed pursuant to Missouri v. Seibert because a reasonable

person in defendant's position would have understood, after being given Miranda warnings,

that he retained a genuine choice about continuing to talk to Sergeant Boje. The search of

defendant's pickup truck occurred with defendant's consent and pursuant to his arrest. The

search also falls within the scope of the automobile exception to the warrant requirement and

is justifiable as an inventory search.

       For these reasons,

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       IT IS RECOMMENDED that the Motion to Suppress Evidence (#20) be granted as

to defendant's non-Mirandized statements and denied in all other respects.

        Pursuant to NECrimR 57.3, a party may object to this Report and Recommendation
by filing a “Statement of Objection to Magistrate Judge’s Recommendation” within ten (10)
days after being served with the recommendation. The statement of objection shall specify
those portions of the recommendation to which the party objects and the basis of the
objection. The objecting party shall file contemporaneously with the statement of objection
a brief setting forth the party’s arguments that the magistrate judge’s recommendation should
be reviewed de novo and a different disposition made.

       DATED July 5, 2005.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge




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